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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, ) CASE NO. MJ 21-539
Plaintiff, )
V. ) DETENTION ORDER
MACLOVIO HERNANDEZ-MARTINEZ, 5
Defendant.
)

 

Offense charged: (by Complaint)
Possession of Controlled substances, including methamphetamine (50+ grams), and heroin,
with intent to distribute.
Date of Detention Hearing: October 12, 2021

The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
based upon the factual findings and statement of reasons for detention hereafter set forth,
finds that no condition or combination of conditions which defendant can meet will
reasonably assure the safety of other persons and the community.

FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

(1) Defendant allegedly drove a vehicle from Portland OR to Seattle in September of

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2021. A search of the vehicle revealed: a) over 96,000 counterfeit M30 (oxycodone)
tablets. Those tablets are suspected to contain fentanyl; test results are pending. (b)
3.45 kilos of heroin; (c) 109.9 grams of methamphetamine; and (d) $44,000 in U.S.
currency.

(2) The investigation also implicated the same vehicle was used to make a delivery in July
of 2021 to an apartment complex in Edmonds, and a search of the apartment soon
thereafter produced 8.5 pounds of heroin, and over 350 counterfeit M30 tablets which
contained fentanyl.

(3) The charges carry very substantial maximum penalties.

(4) Defendant is a citizen of Mexico, and has strong family ties there. He has no legal
status in the United States. He claims that he works in the fields in Washington.

(5) If he were released on bond, there would be no incentive for him to remain or to return
to court, and every incentive to the contrary.

It is therefore ORDERED:

1. Defendant shall be detained pending trial and committed to the custody of the Attorney
General for confinement in a correction facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal;

2. Defendant shall be afforded reasonable opportunity for private consultation with
counsel;

3. On order of the United States or on request of an attorney for the Government, the
person in charge of the corrections facility in which defendant is confined shall deliver

the defendant to a United States Marshal for the purpose of an appearance in

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01 connection with a court proceeding;
02 4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel
03 for the defendant, to the United States Marshal, and to the United States Pretrial

04 Services Officer.

 
 
  

05 DATED this 12th day of October, 2021,
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07 Unfited States Magistrate/ Judge
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DETENTION ORDER
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